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     UNITED STATES BANKRUPTCY COURT
     DISTRICT OF NEW JERSEY
     Caption in Compliance with D.N.J. LBR 9004-2(c)                   Order Filed on October 4, 2021
                                                                       by Clerk
     Eugene D. Roth, Esq.                                              U.S. Bankruptcy Court
                                                                       District of New Jersey
     Law Office of Eugene D. Roth
     2520 Hwy 35, Suite 307
     Manasquan, New Jersey 08736
     Attorneys for the Debtor


     In Re:                                                   Chapter 13

     Eunice Svitzer                                           Case No. 19-21612-MBK

                                   Debtor.                    Hearing Date:

                                                              Judge: Michael B. Kaplan, U.S.B.J.


       ORDER, PURSUANT TO SECTION 363(B) AND (F) OF THE BANKRUPTCY CODE,
         AUTHORIZING AND APPROVING THE SALE OF REAL PROPERTY, FREE
        ANDCLEAR OF ALL LIENS, CLAIMS, ENCUMBRANCES ANDINTERESTS AND
               APPROVING PAYMENT TOALLOWED SECURED CLAIMS


              The relief set forth on the following pages numbered two (2) through five (5) is hereby

     ORDERED.




DATED: October 4, 2021
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Case No.:              19-21612-MBK
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         This matter having been brought before the Court by Eunice Svitzer (the “Debtor”),by

and through its counsel, the Law Offices of Eugene D. Roth by Motion (the “Sale Motion”) for

the entry of an order pursuant to Section 363(b), (f) of the United States Bankruptcy Code (the

“Bankruptcy Code”) authorizing and approving the sale of real property identifiable as 175 Lynn

Court, Lakewood, NJ 08701(the “Property”), free and clear of all liens, claims, encumbrances

and interests; and due and proper notice of the Sale Motion having been provided to all parties

required to receive notice; and it appearing that the relief requested in the Sale Motion is in the

best interest of creditors and the estate; and any objections to the Sale Motion having been

resolved, withdrawn or overruled by this Court; and good and sufficient cause appearing for the

granting of the relief requested in the Sale Motion,

         IT IS HEREBY ORDERED:

         1.    The Sale Motion is granted in all respects.

         2.    The Contract of Sale, annexed hereto as Exhibit A, is hereby approved.

         3.    Pursuant to section 363(b) and (h) of the Bankruptcy Code, the Debtor is

authorized and directed to sell the Property to Avrohom Yeshaya Labkovsky and Nomi

Labkovsky (the “Purchasers”).

         4.    Pursuant to section 363(f) of the Bankruptcy Code, the sale of the Property to the

Purchasers is free and clear of any and all liens, claims, encumbrances and interests.
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         5.      The Debtor shall utilize the proceeds from the sale of the Property to pay the

claims of allowed Secured Creditors on the Property, any outstanding taxes and the professionals

noted in the Notice of Private Sale filed simultaneously with the Sale Motion.

         6.      The balance of the proceeds shall be paid to the Chapter 13 Trustee in the

Debtor’s case.

         7.      The sale of the Property to the Purchasers shall constitute a legal, valid and

effective transfer of title to the Property.

         8.      The Debtor is authorized and directed to execute and deliver such documents and

take such other actions as may be necessary, desirable or appropriate to effect, implement and/or

consummate the sale of the Property to the Purchaser without further application to the Court.

         9.      The Court shall have jurisdiction to (a) implement, interpret, consummate and/or

effectuate the provisions of this Order; and (b) resolve any disputes relating to the sale of the

Property and distribution of the proceeds thereof.

         10.     Pursuant to Section 363(m) of the Bankruptcy Code, the reversal or modification

of this Order on appeal shall not affect the validity of the transfer authorized herein unless the

transfer is stayed pending appeal and prior to closing.

         11.     The fourteen (14) day stay on an order authorizing the use, sale or lease of

property found in Federal Rules of Bankruptcy Procedure 6004(h) is hereby waived.
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         11.   Movant shall serve a copy of the executed Order on all interested parties who

have not yet been served electronically by the Court.
